JS 44 (Rev. 04/21)       Case 4:23-cv-04065 Document 3-1 FiledSHEET
                                              CIVIL COVER     on 10/26/23 in TXSD Page 1 of 89
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         PRIDE HOUSTON, INC.                                                                             THE NEW FACES OF PRIDE HOUSTON, INC.
   (b) County of Residence of First Listed Plaintiff             Harris                                  County of Residence of First Listed Defendant              Harris
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
       Jamison B. Walters
       SBN: 24098573
       SDTX FN: 3098621
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government               ✖ 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place      ✖ 4    ✖ 4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                             820 Copyrights                      430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                           830 Patent                          450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                           835 Patent - Abbreviated            460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                  New Drug Application            470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                 ✖ 840 Trademark                           Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                     880 Defend Trade Secrets            480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards               Act of 2016                         (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                 Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                     3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
       Proceeding          State Court                             Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                               DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
Oct 25, 2023                                                          Jamison B. Walters
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

PRIDE HOUSTON, INC.,                               §
                                                   §
              Plaintiff,                           §
                                                   §
v.                                                 §       Civil Action No.
                                                   §
THE NEW FACES OF PRIDE                             §
HOUSTON, INC.,                                     §
                                                   §
              Defendant.                           §


     Plaintiff’s Original Complaint and Application for Temporary Restraining Order,
           Temporary Injunction, Permanent Injunction, and Declaratory Action


TO THE HONORABLE JUDGE OF THIS COURT:

       COMES NOW, Pride Houston, Inc., Plaintiff in the above-styled and numbered cause

(“Plaintiff”), and files this, its Original Complaint and Application for Temporary Restraining

Order, Temporary Injunction, and Permanent Injunction, and Declaratory Action against The

New Faces of Houston Pride, Inc. (“Defendant”), and in support of same would respectfully say

and show this Honorable Court the following:

                                            I.
                                   NATURE OF THE ACTION

1.     This is an action for violations of Sections 32 and 43 of the Lanham Act for false

designation and origin, false descriptions and representations in interstate commerce, and

dilution of trademark under Section 43 of the Lanham Act. 15 U.S.C. §§ 1114 and 1125.

2.     Plaintiff also brings causes of action for unfair competition, common law unfair

competition, declaratory relief, and exemplary damages, as well as seeks recovery of attorneys’
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fees and litigation costs in connection with same.

3.       Plaintiff further seeks the imposition of the temporary restraining order, temporary

injunction, and permanent injunction respectfully requested herein, as well as performance of

the declaratory action described further below.

                                                II.
                                              PARTIES

4.       Plaintiff Pride Houston, Inc., is a Texas non-profit corporation that does business within

the State of Texas. Plaintiff may be reached and served with process care of counsel, Jamison

B. Walters, Kearney, McWilliams & Davis, PLLC, 55 Waugh Drive, Suite 150, Houston, Texas

77007.

5.       Defendant The New Faces of Pride Houston, Inc., is a Texas non-profit corporation

which has engaged in the publication of its services so as to violate and infringe Plaintiff’s

federally registered Trademarks and unfairly compete with Plaintiff’s services offered in

relation to same. Defendant may be reached and served with process through its registered

agent, Lori Hood, 2900 N. Loop W., Suite 500, Houston, Texas 77092.

                                                III.
                                    JURISDICTION AND VENUE

6.       This Court has original jurisdiction over this matter pursuant to the Trademark Act of

1946, 15 U.S.C. 1051, et seq., and 28 U.S.C. 1338(a) because this claim arises under an Act of

Congress relating to trademarks and unfair competition. Jurisdiction is also proper in this

matter under 28 U.S.C. §§ 1331, 1338(a) and (b), and 1367.

7.       Venue is proper pursuant to 28 U.S.C. §§1391(b) and (c) as all parties to this civil action

are residents of, or transact business in, the Southern District of Texas. Further, a substantial


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part of the events giving rise to the claims involved in this lawsuit occurred in Houston, Texas,

and the intellectual property at issue is located in, and owned by corporate entities

headquartered within, Houston, Texas.

                                            IV.
                                    FACTUAL BACKGROUND

10.     Plaintiff is a nationally and locally known entertainment service provider. Specifically,

Plaintiff’s services include the planning, marketing, and facilitation of social events such as

festivals, parades, fashion shows, night-life events, and community engagement events

(collectively, hereinafter “Plaintiff’s Pride Events”) specifically catered to individuals residing

within and outside of Houston, Texas, who identify as lesbian, gay, bisexual, transgender,

queer, intersex, asexual, and/or otherwise non-heterosexual and/or non-gender conforming

(collectively, hereinafter the “LGBTQ+ Community”), as well as their social and civil allies.

Plaintiff’s federal trademarks, identified below, are registered under goods and services related

to promoting public awareness of the need for diversity and equal rights in a community

comprising LGBTQ-identifying people, as well as to commemorating and celebrating the

history of the gay and lesbian communities. Exhibit 1 – Declaration of Kendra Walker; see

also Exhibits 2-6, referenced immediately below.

11.     Plaintiff is the owner of the following trademarks registered with the United States

Patent and Trademark Office (“USPTO”), attached hereto as Exhibits 2-6 as identified below

(“Trademarks”):

              Trademark                    Registration Date     Registration No.     Exhibit No.

            Pride Houston                 February 12, 2008          3380987                 2



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         Houston Pride Festival1            October 17, 2017          5313882                  3

          Houston Pride Parade2             October 17, 2017          5313881                  4

    Houston LBGT Pride Celebration            April 23, 2019          5732151                  5

        Pride Houston Celebration           October 19, 2021          6530464                  6
1
    – also subject to USPTO pending application serial number 98/164,242
2
    – also subject to USPTO pending application serial number 98/164,346

12.      Plaintiff has been in continuous operation since September 1991, first under the business

name Pride Committee of Houston, Inc., and has operated as Pride Houston, Inc. since March 9,

2005. Exhibit 7 – Articles of Incorporation)and Amendment for Name Change. Over the past

thirty-two (32) years, Plaintiff has become incredibly well-known among LGBTQ+

communities and their allies, both nationally and internationally. Plaintiff’s Pride Events have

been exceptionally well-received by these communities and have gained significant recognition

among the general public, comprising over seven hundred thousand (700,000) participants each

year between its various Houston events. Exhibit 1.

13.      Several of Plaintiff’s trademarks have achieved § 2(f) designation by having acquired

such distinctiveness that consumers directly associate said Trademarks with Plaintiff, and two

(2) of said Trademarks are currently pending § 2(f) acceptance. Exhibits 2 - 6; see 37 C.F.R.

§2.41; TMEP §§1202.03(d), 1212.06 et seq.

14.      Plaintiff’s popularity and success result from Plaintiff’s proven ability to deliver quality

Plaintiff’s Pride Events through continued development and marketing of Plaintiff’s well-

established and federally-protected brand. Plaintiff enjoys tremendous success, widespread

visibility, and goodwill throughout the United States including the popularity and widespread



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recognition of Plaintiff’s trade name by various media outlets and the numerous positive

endorsements of Plaintiff’s Pride Events. Exhibit 1. Through Plaintiff’s Pride Events and other

points of exposure, the public has come to recognize and to trust Plaintiff’s brand and trade

name. Exhibits 1; 7.

15.     The relationships between Plaintiff and the members of Defendant’s current executive

board began several years before the initiation of this lawsuit. Exhibit 1. During this time,

several of Defendant’s board members served as board members for Plaintiff or otherwise

assisted Plaintiff in organizing, marketing, and facilitating Plaintiff’s Pride Events. Exhibit 1.

Plaintiff’s Pride Events, namely, for example, its “Houston Pride Parade” and “Houston Pride

Festival,” have been incredibly successful and highly anticipated throughout LGBTQ

communities locally and nationally. During Kendra Walker’s tenure with Plaintiff, however,

Defendant’s Directors and employees, Dustin Scheffield, Monte Bacchus, Donald James, Jill

Maxwell, and Andrew Simonton, became dissatisfied with Plaintiff’s management, which led to

internal disputes and complaints against Plaintiff’s current and former leadership. Defendant’s

board members subsequently left Plaintiff’s employ and created a new organization named “The

New Faces of Pride.” Exhibit 8 – Certificate of Formation of The New Faces of Pride. While

Plaintiff interpreted Defendant’s original business name as an intended slight towards Plaintiff’s

management, Plaintiff did not immediately view said name as legally problematic.

16.     However, soon after its initial formation, Defendant changed its business name to “The

New Faces of Pride Houston,” which immediately infringed Plaintiff’s brand and trade name of

“Pride Houston.” Exhibit 9 – Certificate of Amendment for New Faces of Pride Houston.

Defendant’s name change also immediately indicated to Plaintiff that Defendant had committed


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the name change with the clear intent to cause confusion, or imply association, with Plaintiff’s

“Pride Houston” brand and trade name. Exhibits 8, 9. Defendant’s publication of its name in

relation to Plaintiff’s Pride Events for the LGBTQ+ Community also blatantly infringes upon

Plaintiff’s Trademarks.

17.     Defendant’s business name is unregistered with the United States Patent and Trademark

Office (“USPTO”) as of the date of this complaint. However, Defendant’s business name is

featured on Defendant’s related Facebook and Instagram pages and posts, and in at least three

(3) Houston news publications, including OutSmart Magazine and the Houston Business

Journal, which are also featured within Defendant’s social media accounts. Exhibit 10 – Pride

Houston Infringement Specimens; Exhibit 11 - Outsmart Magazine Article: “Will Houston Have

Two Pride Celebrations” dated October 19, 2023 (the “Outsmart Article”); Exhibit 12 –

Houston Business Journal Article: “Exclusive: Houston’s newest LGBTIA+ nonprofit aims to

celebrate Pride year-round” dated October 4, 2023 (the “HBJ Article”).

18.     With the Houston Business Journal article announcing the existence and purpose of

Defendant’s intended business operations, Defendant began publicizing its intention to host a

competing parade and festival for Pride Month in Houston under its infringing business name.

Exhibits 10, 11, 12. Soon after, Defendant began marketing its own version of social events as

the “Houston Pride Parade and Festival” which clearly infringes upon Plaintiff’s Pride Events

and related Trademarks. Exhibit 13 – Houston Pride Parade and Houston Pride Festival

Infringement Examples; Exhibits 2, 3, 4.

19.     Plaintiff has invested, and continues to invest, significant time, effort, and sums to build

and maintain the quality and the image of its brand and trade name. The success of Plaintiff’s


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brand and trade name is demonstrated by the dramatic and consistent increase in sales of

Plaintiff’s affiliated Pride Events, such as the “Houston Pride Parade” and “Houston Pride

Festival.” By unlawfully copying and trading on Plaintiff’s brand and trade name, for its own

competing social events, Defendant has both violated the federally protected intellectual

property rights of Plaintiff and disrupted Plaintiff’s consumer base and business relationships.

Defendant’s actions amount to nothing more than an impermissible attempt to fraudulently

associate itself with Plaintiff’s brand, trade name, and Trademarks in order to unfairly compete

with Plaintiff and abscond with the public recognition and business relationships that Plaintiff

has arduously earned over its many years of continued success. Exhibit 1.

20.     Defendant continues to demonstrate its intent to misappropriate Plaintiff’s Trademarks

and goodwill by promoting its own competing social events intended to hijack and diminish

Plaintiff’s Pride Events. For example, Defendant has scheduled its own “Houston Pride Parade

and Festival” to occur one (1) week before Plaintiff’s “Houston Pride Parade” in order to

unlawfully undercut the impact and attendance generated through same—even going so far as to

exactly replicate the parade route itself. Exhibit 11; Exhibit 14 – Houston Pride Parade Map

and Event Date; Exhibit 15 – New Faces of Pride Houston Pride Parade and Festival, Date and

Parade Map. Given the distinctive Trademarks maintained by Plaintiff and the significant

Plaintiff’s Pride Events associated with same, Defendant’s actions blatantly infringe upon

Plaintiff’s intellectual property rights.

21.      Defendant is further engaged in several other infringing activities, including

publication of Defendant’s infringing, competing social events with the likeness and function of

Plaintiff’s Pride Events under a confusingly similar name. Exhibits 10, 13, 15. In fact, Plaintiff


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has been inundated with a series of communications from vendors, donors, and consumers

seeking to clarify their actual confusion about the potential connection or relationship between

Plaintiff and Defendant. Exhibit 16 – Confusion Communications Due to Infringement. Despite

there being absolutely no such connection or relationship between Plaintiff and Defendant, the

continuous infringing actions of Defendant has caused these parties to incorrectly believe there

is a rebranding or an affiliation between the two. Exhibit 16.

22.     More specifically, but without limitation, Plaintiff’s customers, as well as several other

third parties, have contacted Plaintiff concerning Defendant’s publication and marketing efforts

of Defendant’s infringing social events because of the confusing similarity in the likeness and

trade names used by Defendant with same, as well as the closeness in time between Defendant’s

infringing pride parade and Plaintiff’s Houston Pride Parade. Exhibits 13, 14, 15; Exhibit 17 –

Houston Public Media Article: Houston’s feuding Pride organizations planning two separate

events for June 2024 .

23.     Defendant is keenly aware that its unauthorized use of Plaintiff’s brand, trade name, and

Trademarks would result in an unfair benefit to Defendant, who willfully and intentionally

selected a confusingly similar business name, event names, and social media tags to promote

Defendant’s services and events. Exhibit 10. Defendant is engaged in infringing activities,

including organizing and marketing events and services under a brand name that bears the

likeness and image of Plaintiff’s organization and trade name. Id. Defendant has gone so far as

to refer to itself as “Official Houston Pride” on its social media accounts, such as Instagram,

despite having only been formed less than four (4) months prior to this filing, in order to appear

as the rebranded version of, or otherwise affiliated with, Plaintiff’s historic and successful brand


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when it is not. Exhibits 8, 10, 13.

24.     Defendant’s conduct stands in violation of applicable federal laws as it has caused actual

confusion, is likely to continue to do so, and is unlawfully intended to confuse, cause mistake,

or deceive consumers as to the source, affiliation, sponsorship, license, and origin of the events

planned, organized, marketed, and facilitated by Defendant. Exhibits 9, 10, 11, 13, 17.

25.     Defendant’s actions nullify Plaintiff’s right to the exclusive use of its Trademarks free

from infringement. Defendant’s activities have had and will continue to have a substantial,

adverse effect on Plaintiff’s existing and projected future business and the marketing of

products and services identified by Plaintiff’s registered Trademarks, as well as the goodwill of

Plaintiff’s business inherently associated with the use of, and symbolized by, Plaintiff’s

protected “Pride Houston” brands, including those of its staple “Houston Pride Parade” and

“Houston Pride Festival.” Finally, and upon information and belief, Defendant is marketing

their organization with the name “The New Faces of Pride Houston” with the specific design to

siphon off brand recognition from Plaintiff.

26.     Plaintiff attempted to resolve the claims raised in this civil action without the need for

judicial involvement by delivering written demand that Defendant immediately cease the

infringing activity and conduct described herein. Rather than open a meaningful dialogue

intended to achieve an amicable resolution, Defendant has rebuffed Plaintiff’s communication

attempts and instead taken to local news media to lambast same in furtherance of Defendant’s

obvious desire to disparage and defame Plaintiff’s successful “Pride Houston” brand and trade

name, Plaintiff’s Trademarks, and Plaintiff’s Pride Events. Exhibits 11, 12, 16; Exhibit 18 –

Declaration of Erik J. Osterrieder; Exhibit 19 – October 11, 2023 Cease and Desist Letter;


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Exhibit 20 – October 12, 2023 email exchange between E. Osterrieder and Lori Hood, legal

counsel for Defendant.

27.     In order to enforce and protect Plaintiff’s legal rights and the federal protection provided

for Plaintiff’s registered intellectual property, Plaintiff had no choice but to bring the instant

civil action and request for injunctive and declaratory relief in an attempt to completely

discontinue the unlawful activity of Defendant.

                                              V.
                                       CAUSES OF ACTION

        A.     Count One: Trademark Infringement

28.     Plaintiff reasserts the allegations contained in Paragraphs 1 through 27 of this Complaint

by reference as if set forth verbatim herein and requests relief from this Court for Plaintiff’s

trademark infringement causes of action of each trademark listed in Paragraph 11.

29.     Plaintiff’s claims arise from Sections 32 and 43 of the Lanham Act for infringement of

registered and unregistered trademarks. 15 U.S.C. §§1114 and 1125.

30.     Defendant has intentionally and knowingly copied and/or used confusingly similar

marks as compared to at least Plaintiff’s distinctive “Pride Houston” trademark, “Houston Pride

Parade” trademark, and “Houston Pride Festival” trademarks through the purchase and

dissemination of certain internet advertisements for Defendant’s business name, “The New

Faces of Pride Houston,” and competing social events advertised by Defendant in association

with same. Defendant’s wrongful advertisements are both insidious and unlawful in that they

are automatically displayed upon Plaintiff’s internet consumers searching for the keywords

contained in Plaintiff’s Trademarks. Said intentional and wrongful conduct occurred in the



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course of Defendant’s commercial and advertising activities. Furthermore, Defendant’s junior

and unregistered marks are confusingly similar to Plaintiff’s senior and registered trademarks in

sight, sound, connotation, commercial impression, services, trade channels, and targeted

consumers.

31.     Specifically, Defendant has implemented this unlawful advertising campaign by using

certain advertising words and social media tags, namely, Plaintiff’s “Pride Houston” business

name and Plaintiff’s “Houston Pride Parade” and “Houston Pride Festival” trademarks, and this

has caused Plaintiff’s consumers, who were already acutely aware of Plaintiff’s now-active

“Houston Pride Parade” event registration, to be confused about the source and affiliation of

Plaintiff’s Pride Events and Defendant’s infringing social events.        Thus, any consumer

searching for Plaintiff’s “Pride Houston’ business name or event registration is likely to be

wrongfully directed to Defendant’s advertisement for Defendant’s “The New Faces of Pride

Houston” business name and related social events.

32.     Further, through this unlawful misdirection, Defendant has effectively advertised and

represented to Plaintiff’s consumers that Defendant is Plaintiff’s successor organization despite

there being no connection or relationship between them.         Similarly, at all times during

Defendant’s wrongful implementation of this unlawful advertisement and infringement scheme,

Plaintiff’s “Pride Houston” trademark was not in any way related or associated with

Defendant’s infringing business name or events, nor was Plaintiff’s business name or

Trademarks authorized or licensed to Defendant in any capacity whatsoever.

33.     Given the significant and obvious similarities Defendant stole from Plaintiff’s

Trademarks and incorporated into Defendant’s marketing for “The New Faces of Pride


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Houston,” Plaintiff contends Defendant intended for Defendant’s business name and marketed

Pride Events to be “passed off” as Plaintiff and Plaintiff’s Pride Events, respectively. Exhibits

10, 11, 12, 13, 15, 16, 17. The unauthorized use of Plaintiff’s Trademarks falsely indicated to

consumers that Defendant’s business and related community events originated from, was

approved, sponsored or licensed by, or affiliated with Plaintiff and/or Plaintiff’s business and

Trademarks when it is not.

34.     Plaintiff has not licensed the use of its Trademarks to Defendant. Plaintiff’s “Houston

Pride Parade” and “Houston Pride Festival” registrations are hosted and marketed primarily

online largely through the use of various social media platforms and electronic mail. Exhibit 1.

Defendant’s infringing marketing, promotion, and event-registration hosting activities are

likewise implemented over the internet and further marketed through various social media

platforms and electronic mail. Exhibits 10, 11, 12. Defendant’s “The New Faces of Pride

Houston” business name and related social events are thus presented to consumers through the

same or similar channels in which Plaintiff’s legitimate services are marketed and sold.

35.     Still further, without permission, license, or other authority of sponsorship, authority, or

endorsement from Plaintiff, Defendant infringed upon Plaintiff’s Trademarks in order to

undertake Defendant’s wrongful advertising campaign and also facilitate fundraising from

Plaintiff’s sponsors and donors under false pretenses. Through Defendant’s infringement, and

knowledge gained from prior employment and/or association with Plaintiff, Defendant is

unlawfully attempting to finance its competing social events through funds gained through illicit

and unauthorized affiliated with Plaintiff.       Defendant has organized its infringing and

confusingly similar named social events in violation of Plaintiff’s Trademarks within this


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district and throughout the United States.

36.     Prior to the several unlawful and infringing acts complained of herein:

        (i)     Plaintiff marketed Plaintiff’s “Pride Houston” brand and trade name with

                Plaintiff’s Trademarks for at least the past sixteen (16) years;

        (ii)    Plaintiff expended, and continues to expend, large sums of money to build,

                maintain, extend, and protect Plaintiff’s reputation, especially with regard to

                Plaintiff’s “Pride Houston” business name, Trademarks, and Plaintiff’s Pride

                Events;

        (iii)   Plaintiff engaged, and continues to engage, in intrastate and interstate activities

                designed to promote Plaintiff’s “Pride Houston” brand and trade name, the

                goodwill associated with same, as well as Plaintiff’s Trademarks, and Plaintiff’s

                Pride Events;

        (iv)    Plaintiff engaged, and continues to engage, in interstate activities designed to

                promote the business and goodwill identified by Plaintiff’s “Pride Houston”

                business name and Plaintiff’s Trademarks in interstate commerce, and to expand

                the use and reputation of Plaintiff’s business, Trademarks, and property

                throughout the United States;

        (v)     Plaintiff’s registered Trademarks have been, and continue to be, known in

                numerous states as marks identifying and distinguishing Plaintiff’s “Pride

                Houston” business name and Plaintiff’s Pride Events. Three (3) of five (5) of

                Plaintiff’s Trademarks have achieved § 2(f) designation by having acquired such

                distinctiveness that they consumers directly associate said Trademarks direction


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               with Plaintiff, and two (2) of the Trademarks are currently pending § 2(f)

               acceptance. Exhibits 2 - 6; see 37 C.F.R. §2.41; TMEP §§1202.03(d), 1212.06 et

               seq;

        (vi)   Plaintiff’s Trademarks are distinctive, and have been, and continue to be, known

               throughout the United States as identifying and distinguishing the business of

               Plaintiff;

37.     Defendant’s conduct is likely to cause confusion, cause mistake, or deceive consumers

as to the source and origin of “The New Faces of Pride Houston” marketed, advertised, and

organized by Defendant. Such confusion, mistake, or deception occurred in the course of

Defendant’s commercial and advertising activities. In fact, and as examples of likelihood of

confusion, Defendant’s activities have caused actual confusion with consumers as to the source

and origin of such products. Exhibit 16. More specifically, but without limitation, Plaintiff’s

customers, as well as various third parties, have mistakenly contacted Plaintiff concerning

Defendant’s infringing “The New Faces of Pride Houston” business name and related social

events because of the nearly identical likenesses between Plaintiff, its Trademarks, and

Plaintiff’s Pride Events. Id. This actual confusion is bolstered through Defendant’s wrongfully

infringing advertising scheme regarding Defendant’s trade name and related social events, as

well as the Defendant’s deliberate passing off of same as those of Plaintiff.        Exhibit 16.

Defendant’s acts operate to nullify Plaintiff’s lawful right to the exclusive use of Plaintiff’s

Trademarks free from infringement.

38.     Defendant’s activities have had, and will continue to have, a substantial, adverse effect

on Plaintiff’s existing and projected future interstate business of marketing products and


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services identified by Plaintiff’s Trademarks, as well as the goodwill of Plaintiff’s business

generated through the use of, and symbolized by, Plaintiff’s “Pride Houston” brand and trade

name and Plaintiff’s Trademarks.

39.     Defendant’s activities and conduct constitute infringement of Plaintiff’s registered and

common law trademarks in violation of Sections 32 and 43 of the Lanham Act. 15 U.S.C. §§

1114 and 1125.

40.     Plaintiff has been, and continues to be, damaged by Defendant’s activities and conduct.

Defendant has profited thereby and unless Defendant’s conduct is enjoined, Plaintiff’s goodwill

and reputation will continue to suffer irreparable injury that cannot be adequately calculated or

compensated solely by money damages.             Accordingly, Plaintiff seeks preliminary and

permanent injunctive relief pursuant to 15 U.S.C. § 1116.

41.     Because Defendant has been demanded in writing to immediately cease all infringing

activity and conduct prior to the initiation of this civil action, thereby providing Defendant with

notice of same. Defendant has not complied with such lawful demand without justification or

excuse. Thus, Defendant has intentionally and knowingly used Plaintiff’s Trademarks and,

accordingly, Plaintiff is entitled to a judgment of three (3) times its damages or Defendant’s

profits, together with reasonable attorneys' fees pursuant to 15 U.S.C. §§ 1117(a) and (b).

        B.     Count Two: Trademark Dilution

42.     Plaintiff reasserts the allegations contained in the preceding Paragraphs of this

Complaint by reference as if set forth verbatim herein and requests relief from the Court for

Trademark Dilution under Section 43(c) of the Lanham Act. 15. U.S.C. §1125(c).

43.     As a result of Plaintiff’s continuous promotion of Plaintiff’s “Pride Houston” brand and


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trade name, and Plaintiff’s associated intellectual property, at least three of Plaintiff’s

Trademarks have achieved recognition as a distinctive § 2(f)-designated trademarks. Exhibits 2

- 6; see 37 C.F.R. §2.41; TMEP §§1202.03(d), 1212.06 et seq.

44.     Defendant’s use in commerce of the deliberately misleading “The New Faces of Pride

Houston” business name, including marketing Defendant’s competing social evens, began after

Plaintiff’s had spent decades investing and strengthening Plaintiff’s Trademarks and Plaintiff’s

“Pride Houston” brand and trade name. Defendant’s deceptive use of “The New Faces of Pride

Houston” in both its marketing and organization has caused dilution of the distinctive quality of

Plaintiff’s Trademarks as such conduct constitutes wrongful commercial and advertising

activities. Such conduct has caused injury to Plaintiff pursuant to 15 U.S.C. § 1125(c).

45.     Defendant willfully intended to trade on Plaintiff’s reputation and goodwill and/or to

cause dilution of Plaintiff’s Trademarks.      Accordingly, Plaintiff is entitled to recover its

damages, as well as Defendant’s profits received as a result of the infringement pursuant to 15

U.S.C. § 1117(a).

46.     Unless Defendant’s conduct is enjoined, Plaintiff, including Plaintiff’s goodwill and

reputation and the significant value of Plaintiff’s Trademarks, will suffer irreparable injury that

cannot be adequately calculated or compensated solely by money damages.              Accordingly,

Plaintiff seeks preliminary and permanent injunctive relief pursuant to 15 U.S.C. § 1116 and 15

U.S.C. § 1125(c)(1) against Defendant.

        C.     Count Three: Unfair Competition

47.     Plaintiff reasserts the allegations contained in the preceding Paragraphs of this

Complaint by reference as if set forth verbatim herein and requests relief from this Court for


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Plaintiff’s trademark infringement cause of action pursuant to 15 U.S.C.§1125(a). Defendant’s

actions constitute unfair competition in violation of the Lanham Act. 15 U.S.C. §1125(a).

48.     Plaintiff is the owner of “Pride Houston,” “Houston Pride Parade,” and “Houston Pride

Festival,” all federally registered trademarks associated with Plaintiff’s “Pride Houston” brand

and trade name, as well as Plaintiff’s Pride Events, that Defendant has infringed upon, continues

to infringe upon, and expressed the intent to continue such unlawful infringement indefinitely.

Plaintiff’s Trademarks are distinctive. Plaintiff’s “Pride Houston” brand and trade name and

associated Trademarks gained substantial secondary meaning in commerce amongst Plaintiff’s

consumers and the general public.

49.     Through its own advertising and internet fundraising, and event names, Defendant is

infringing upon Plaintiff’s federally registered Trademarks in commerce without the

authorization of Plaintiff in a way that has caused consumer confusion as to Defendant’s

association or affiliation with Plaintiff’s “Pride Houston” business. This is especially true given

the history between several of Defendant’s officers, executives, and/or directors and Plaintiff.

Exhibit 1. Defendant, through Defendant’s prior engagement with Plaintiff, had uninhibited

access to Plaintiff’s business affairs and Plaintiff’s consumers. Capitalizing on that access and

familiarity, Defendant created an organization that wrongfully advertises to Plaintiff’s

consumers while diverting business away from, and discrediting, Plaintiff’s “Pride Houston”

brand, trade name, and related Trademarks. These actions constitute unfair competition in

violation of the Lanham Act, 15 U.S.C. § 1125(a).

50.     Such actions were intended to cause confusion, have caused confusion, and will

continue to cause confusion unless enjoined.        Defendant’s actions and use of Plaintiff’s


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Trademarks, or confusingly similar imitations thereof, suggest sponsorship, approval and/or

endorsement from Plaintiff which is wholly absent and must be enjoined. For each act of unfair

competition, Plaintiff is entitled to recover its actual damages as well as Defendant’s profits

from such infringement. Defendant’s acts have directly caused, and will continue to directly

cause, harm to Plaintiff.

51.     Monetary relief alone is not adequate to fully address the irreparable injury that

Defendant’s illegal actions have caused and will continue to cause Plaintiff if Defendant is not

enjoined from same. Plaintiff is therefore also entitled to preliminary and permanent injunctive

relief to terminate and further prevent Defendant’s ongoing unfair competition.

        D.     Count Four: Request for Declaratory Relief

52.     Plaintiff seeks a declaratory judgment recognizing that Plaintiff has full rights in and to

Plaintiff’s Trademarks pursuant to Tex. Civ. Prac. & Rem. Code §§ 37.001, et seq.; Fed. R. Civ.

P. 57; and 28 U.S.C. §§ 2201, 2202. Pursuant to said request, Plaintiff reasserts all allegations

contained within the preceding Paragraphs of this Complaint and incorporate same by reference

as if set forth verbatim herein.

53.     Defendant has represented to Plaintiff’s consumers that Defendant, rather than Plaintiff,

hold the rights to Plaintiff’s Trademarks or, alternatively, that Plaintiff’s Trademarks have been

incorrectly granted by the USPTO. An actual and justiciable controversy exists as to whether

Plaintiff has full rights in Plaintiff’s own Trademarks. This lawsuit is preventative in nature and

intended to ascertain the rights of parties when controversy has arisen prior to commission of

any wrong.

54.     Plaintiff requests the Court to declare rights, status, and legal relations between the


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parties with regard to Plaintiff’s rights in Plaintiff’s Trademarks. Such a declaration will

resolve the pending controversy and is appropriate in this instance. Plaintiff thus seeks a

declaratory judgment that: (a) Plaintiff has full rights in its own Trademarks; (b) Defendant’s

representations that Defendant, rather than Plaintiff, holds the right, or has superior rights, to

Plaintiff’s Trademarks is baseless, unfounded, and wholly untrue; (c) Defendant’s conduct

infringes upon Plaintiff’s Trademarks in violation of the Lanham Act; (d) that said violations

are causing Plaintiff to suffer immediate and unquantifiable harm, including confusion and

dilution of Plaintiff’s trademarks; and (e) that Defendant’s actions were willful and intended to

cause confusion, have caused confusion, and will continue to cause confusion unless enjoined.

        E.     Count Five: Common Law Unfair Competition

55.     Plaintiff reasserts the allegations contained in the preceding Paragraphs of this

Complaint by reference as if set forth fully herein and respectfully requests relief for Plaintiff’s

claim of unfair competition pursuant to the common laws of the State of Texas.

56.     Defendant’s actions constitute unfair competition pursuant to Texas common law, the

natural and probable consequence of which has been, and will continue to be, that the public is

confused, misled, and deceived by the unlawful similarity of Defendant’s “The New Faces of

Pride Houston” business and related social events to Plaintiff’s “Pride Houston” business,

Trademarks, and Plaintiff’s Pride Events, and that such persons who are seeking Plaintiff’s

services will be mistakenly led by that wrongful similarity to obtain or support Defendant’s

services.    This is especially true considering Defendant’s unlawful actions of diverting

Plaintiff’s supporters, vendors, consumers, and donors to Defendant’s articles, website, social

media accounts, and false advertisements. Exhibits 10 - 13, 15 - 17. Defendant’s actions are


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tortuous and unlawful and are designed to secure a commercial competitive advantage.

Defendant’s actions are contrary to honest and lawful practice in commercial matters.

57.     Defendant’s adoption and use of Plaintiff’s Trademarks and “Pride Houston” brand and

trade name was and is an attempt to create the impression with the public that Defendant’s

activities, services, and sales are sponsored by or affiliated with Plaintiff.       Specifically,

Defendant intended to create the impression that members of Plaintiff have created a new

branch to expand certain versions of Plaintiff’s Pride Events. Defendant has engaged in acts of

unfair competition by intentionally failing disclose to Plaintiff’s supporters, vendors,

consumers, and donors of the difference in the source of Defendant’s “The New Faces of Pride

Houston” business compared to Plaintiff’s “Pride Houston” business through marketing,

advertising, and by soliciting community support and business partnerships without sufficiently

distinguishing Defendant from Plaintiff.

58.     Defendant has made multiple fraudulent and untrue statements and committed tortious

acts in an attempt to interfere with Plaintiff’s rightful commercialization of its “Pride Houston”

brand, trade name, and associated Trademarks. Defendant has contacted Plaintiff’s consumers

directly under the guise of being identical to Plaintiff’s organization. Exhibit 16. Defendant’s

actions were made in an attempt to secure a competitive and commercial advantage over

Plaintiff. Such actions are tortious, wrongful, and illegal. Defendant’s actions are contrary to

honest practice in commercial matters. Defendant’s acts have directly caused, and will continue

to directly cause, harm to Plaintiff.

59.     Unless Defendant’s willful and egregious conduct is enjoined, Plaintiff, as well as

Plaintiff’s goodwill and reputation, will suffer irreparable injury that cannot be adequately


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calculated or compensated solely by money damages.          In fact, Defendant’s unlawful and

infringing conduct has already directly caused Plaintiff harm. Accordingly, Plaintiff seeks

preliminary and permanent injunctive relief, as well as the declaratory action described and

respectfully requested herein.

                                     VI.
  APPLICATION FOR TEMPORARY RESTRAINING ORDER AND TEMPORARY AND PERMANENT
                                 INJUNCTION

60.     As previously discussed, Plaintiff is a nationally and locally-known entertainment

service provider, focusing on hosting Plaintiff’s Pride Events catering to the LGBTQ+

Community.      Plaintiff advertises its services and fundraises primarily on the internet.

Defendant’s board members served as board members for Plaintiff or otherwise assisted

Plaintiff in organizing, marketing, and facilitating Plaintiff’s Pride Events before joining

Defendant’s infringing “The New Faces of Pride Houston” business.

61.     Plaintiff became aware that Defendant had begun infringing upon Plaintiff’s Trademarks

through Defendant’s press releases and social media posts showing Defendant was organizing,

advertising, marketing, and soliciting donations for their infringing organization and competing

social events, and that Defendant had been soliciting donations and accepting registrations from

Plaintiff’s supporters, vendors, and donors by falsely advertising Defendant’s “The New Faces

of Pride Houston” business as a branch of Plaintiff’s “Pride Houston” business, brand, and/or

trade name. Exhibits 1, 9 - 13, 15 - 17. The most significant of these violations are Defendant’s

several instances of trademark infringement, which, if not cured, would cause confusion

amongst consumers as to Plaintiff’s ownership of its Trademarks, brand, and trade name and

further serve to dilute Plaintiff’s Trademarks, brand, and trade name. In fact, Defendant has


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already caused such confusion among the general public and Plaintiff’s supporters, vendors,

consumers, and donors, thereby negatively affecting Plaintiff’s goodwill and good business

reputation in direct violation of the Lanham Act. Exhibit 16.

62.     If Defendant is allowed to continue operating in their current form, Plaintiff will waive

many of the trademark laws enacted to protect Plaintiff’s original works from competitors and

infringers. Not only does Plaintiff have no reason to believe that Defendant will stop its

infringing activity, regardless of any potential civil liability for which Defendant may be found

liable, Defendant has openly stated that it intends to continue to infringe. Exhibit 17 (“Cotton

acknowledged receiving the cease-and-desist letter but denied that New Faces of Pride Houston

is infringing on the trademarks of Pride Houston, calling them ‘very vague trademarks.’”).

63.     Defendant also acknowledges splitting off from Plaintiff’s employ to specifically

improperly utilize Plaintiff’s brand, trade name, and resources. Exhibit 17 (“Cotton said he and

fellow board member Jill Maxwell, a former board member for Pride Houston, led the launch of

the new group because of turmoil associated with Pride Houston.”). This, in conjunction with

Defendant deliberately changing its business name to include Plaintiff’s “Pride Houston” brand

and trade name, as well as Defendant’s immediate use of social media tags identical to

Plaintiff’s Trademarks, demonstrate a coordinated plan executed by Defendant to unlawfully

infringe and gain an unfair market advantage over Plaintiff. Exhibits 1, 9 - 13, 15 - 17. Plaintiff

now files this Application for a Temporary Restraining Order to prevent such unlawful and

infringing activity and conduct.

64.     Plaintiff requests this Court issue a Temporary Restraining Order preventing Defendant

from marketing, advertising, fundraising, or soliciting donations, supports, and vendors in


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relation to Defendant’s infringing “The New Faces of Pride Houston” business.             Further,

Plaintiff respectfully requests this Court issue a Temporary Restraining Order to prevent

Defendant from advertising Defendant’s infringing “The New Faces of Pride Houston”

business, soliciting any more of Plaintiff’s supporters’ donations in relation to Defendant’s

infringing use of same or Defendant’s competing social events, or using any of Plaintiff’s

Trademarks in any capacity whatsoever.

65.      Plaintiff further requests this Court issue a Temporary Restraining Order to enjoin

Defendants from marketing or promoting any events, or accepting participant registrations for

any events, that improperly publishes, displays, or in any way uses Plaintiff’s Trademarks in the

event name, social media tags, or other marketing, information, and/or other materials. Exhibits

2 - 6.

66.      Plaintiff further requests that this Court issue a Temporary Restraining Order to enjoin

Defendants from claiming to be the “official Houston Pride” organization in any capacity.

67.      Plaintiff respectfully requests this Court grant this Temporary Restraining Order in order

to protect Plaintiff’s federally registered and long-held Trademarks until such time as an

evidentiary hearing may be heard by the Court.

68.      Defendant’s continued advertisement of its infringing “The New Faces of Pride

Houston” business and use of Plaintiff’s Trademarks, goodwill, good business reputation,

brand, and trade name is causing Plaintiff irreparable harm. Defendant’s infringing “The New

Faces of Pride Houston” business and name causes confusion of ownership with Plaintiff’s

Trademarks and enables Defendant to continue in their current infringing activities to dilute

same. Exhibit 16. If allowed to continue its infringing activities, Defendant’s actions will


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destroy all of the trademark protection afforded Plaintiff under applicable law. This harm is

ongoing and imminent. Plaintiff must be allowed to fiercely protect its intellectual property.

69.     The injury faced by Plaintiff is insurmountable.        The burden of shutting down

Defendant’s infringing activities is outweighed by the benefit of protecting Plaintiff’s

Trademarks. There is no other adequate remedy at law. Damages at this point cannot be

calculated should Plaintiff suffer confusion and dilution of its Trademarks.          There is a

substantial likelihood of success on the merits of this case. A review of Plaintiff’s “Pride

Houston” business and Plaintiff’s corresponding Trademarks, brand, and trade name, as well as

Defendant’s blatantly infringing “The New Faces of Pride Houston” business, trade name, and

commercial activities, establishes trademark infringement. Exhibits 1, 9 - 13, 15 - 17.

70.     Granting the relief requested would not adversely affect public policy or public interest.

Davidoff & CIE v. PLD International Corp., 263 F.3d 1297, 1304 (11th Cir. 2001) (stating that

in trademark infringement suit, public interest was served when injunction prevented consumer

confusion in the marketplace).

71.     This Court has authority to grant a temporary restraining order without notice to the

adverse party if “specific facts shown by affidavit or by the verified complaint clearly show that

immediate and irreparable injury, loss, or damage will result to the movant before the adverse

party can be heard in opposition,” and “the movant’s attorney certifies in writing any efforts

made to give notice and reasons why it should not be required.” FRCP 65(b)(1).

72.     In support of its Application, Plaintiff attaches the Declarations of Kendra Walker and

Attorney Jamison B. Walters, the cease and desist letter previously delivered by Plaintiff’s

counsel to Defendant on October 11, 2023, and the Houston Public Media Article where Bryan


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Cotton, a Director of Defendant, is reported as follows: “Cotton acknowledged receiving the

cease-and-desist letter but denied that New Faces of Pride Houston is infringing on the

trademarks of Pride Houston, calling them "very vague trademarks.” Exhibits 1, 16, 17 18, 19.

73.     Defendant was provided ample notice that Plaintiff intended to file a lawsuit and would

seek to enjoin Defendant from using Plaintiff’s Trademarks, and completely failed and refused

to respond to same, opting instead to respond through local public media of Defendant’s intent

to continue to unlawfully infringe upon Plaintiff’s intellectual property rights. Exhibits 17, 18,

19.

74.     Defendant continues to solicit Plaintiff’s consumers and donors on a daily basis, and

intends to begin registering participants in most significant, and infringing, social event, the

unlawfully named “Houston Pride Parade and Festival”, starting on November 1, 2023.

Exhibit 13.

75.     While Plaintiff believes that no bond is necessary, upon a finding by this Court that a

bond is necessary, Plaintiff will post bond. In the case the Court finds a bond should be posted,

Plaintiff believes the bond should be set at a nominal amount given Defendant’s egregious and

clearly unlawful, infringing activities.

76.     Plaintiff further requests this Court to set its Application for a Temporary Injunction for

a hearing.    After said hearing, Plaintiff requests this Court to issue an injunction against

Defendant precluding them from marketing, advertising, soliciting donations, or offering for

sale services related to Defendant’s infringing “The New Faces of Pride Houston” business.

77.     Plaintiff further requests that this Court set its Application for a Permanent Injunction

for a full evidentiary trial on the merits. After said hearing, Plaintiff requests the Court issue a


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Permanent Injunction against Defendant, precluding them from marketing, advertising,

soliciting donations, or offering for sale services related to Defendant’s infringing “The New

Faces of Pride Houston” business.

78.      After a trial on the merits, Defendant will prove that Defendant’s infringing “The New

Faces of Pride Houston” business is confusingly similar to Plaintiff’s “Pride Houston” brand

and trade name, as well as Plaintiff’s Trademarks and associated Plaintiff’s Pride Events.

Further, Defendant will also prove that Defendant has no rights or legitimate interests in respect

of Plaintiff’s Trademarks, brand, or trade name; and that Defendant’s infringing activities have

been committed in bad faith. Once these elements are proven, Plaintiff requests this Court to

enter an Order to permanently prevent Defendant from ever marketing, advertising, soliciting

donations, or offering for sale services related to Defendant’s infringing “The New Faces of

Pride Houston” business.

                                               VII
                                       ATTORNEY’S FEES

79.      The allegations contained in the preceding Paragraphs of this Complaint are

incorporated by reference herein as if set forth verbatim.

80.      The recovery of attorneys’ fees for trademark infringement is authorized by the

provisions of 15 U.S.C. § 1117 and the Texas Civil Practice and Remedies Code §§ 38.001, et

seq.

81.      As a result of Defendant’s unlawful actions, Plaintiff has been required to obtain legal

counsel to bring this suit and is therefore entitled to reasonable attorneys’ fees that may be

awarded by this Court.



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                                               VIII
                                           PRAYER

       WHEREFORE, Plaintiff Pride Houston, Inc. prays for judgment against Defendant The

New Faces of Pride Houston, Inc. as follows:

   A. Plaintiff requests this Court to enter an Order granting an ex parte temporary restraining

       order, preliminary, and permanent injunctive relief to stop the ongoing infringement of

       Plaintiff’s Trademarks, brand, and trade name;

   B. A Court decree that Plaintiff is the exclusive owner of Plaintiff’s “Pride Houston”,

       “Houston Pride Parade”, and “Houston Pride Festival” trademarks, as identified in the

       Complaint;

   C. A Court decree that Defendant violated the Lanham Act, 15 U.S.C. § 1125(a), and that

       Defendant’s infringing actions were intended to cause confusion, have caused confusion,

       and will continue to cause confusion unless enjoined. Plaintiff requests this Court to

       grant it damages for its actual damages, as well as disgorgement of Defendant’s profits

       from such infringement;

   D. Plaintiff requests this Court to enter an Order granting preliminary and permanent

       injunctive relief to stop Defendant’s ongoing unfair competition;

   E. An Order enjoining Defendant from advertising, distributing, selling, or offering for sale

       Defendant’s infringing “The New Faces of Pride Houston” products, services, or social

       events;

   F. An award of damages and profits arising from Defendant’s trademark dilution and unfair

       competition, such damages to be trebled in view of the willfulness of Defendant’s acts in



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       infringing upon Plaintiff’s trademark and willful and intentional selling of Defendant’s

       infringing “The New Faces of Pride Houston” products, services, and social events;

   G. A Court decree that Defendant willfully intended to trade on Plaintiff’s reputation and/or

       to cause dilution of Plaintiff’s trademarks. Plaintiff requests this Court to award it

       damages, as well as Defendant’s profits received as a result of the infringement,

       pursuant to 15 U.S.C. § 1117(a);

   H. A Court decree granting preliminary and permanent injunctive relief pursuant to 15

       U.S.C. § 1116 and 15 U.S.C. § 1125 (c)(1) against Defendant;

   I. A court decree that Defendant violated the Texas Business and Commerce Code by

       means of unfair competition under the Texas common law by intentionally failing to

       inform Plaintiff's customers of the difference in the source of the services and by

       soliciting Plaintiff’s customers, through nefarious and deceptive practices and acts,

       without distinguishing Defendant’s services from those of Plaintiff.       Accordingly,

       Plaintiff requests this Court to award it monetary damages, as well as preliminary and

       permanent injunctive relief;

   J. A declaratory judgment that: (i) Plaintiff has full rights in Plaintiff’s own Trademarks;

       (ii) Defendant’s representations that Defendant, rather than Plaintiff, hold the right to

       Plaintiff’s Trademarks is baseless, unfounded, and wholly untrue; (iii) Defendant’s

       conduct infringes upon Plaintiff’s Trademarks in violation of the Lanham Act; (iv) that

       said violations are causing Plaintiff to suffer immediate and unquantifiable harm,

       including confusion and dilution of Plaintiff’s Trademarks; and (v) that Defendant’s

       actions were willful and intended to cause confusion, have caused confusion, and will


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       continue to cause confusion unless enjoined;

   K. An award of all costs expended in this suit;

   L. An award of attorneys’ fees and expenses incurred in connection with this civil action;

   M. Pre- and post-judgment interest; and,

   N. All such other and further relief, special or general, at law or in equity, to which Plaintiff

       may show itself to be justly entitled.



                                                      Respectfully Submitted,

                                                      KEARNEY, MCWILLIAMS & DAVIS, PLLC

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                              DECLARATION OF KENDRA WALKER


STATE OF TEXAS                        §
                                      §
COUNTY OF HARRIS                      §


    1) “My name is Kendra Walker. I am a current resident of Harris County, Texas. I am over
       eighteen (18) years of age and am competent and authorized to make this Declaration. I
       have never been convicted of a crime involving moral turpitude. I have personal
       knowledge of the facts stated herein, which are true, correct, and within my personal
       knowledge.

    2) “I am the President of Pride Houston, Inc. (“Pride Houston”), a Texas non-profit
       corporation that annually organizes the official Houston LGBT Pride Celebration which
       includes the Houston Pride Festival and Houston Pride Parade. Pride Houston, Inc. has
       served the Houston LGBT community for forty-six (46) years.

    3) “Pride Houston’s services include the planning, marketing, and facilitation of social events
       such as festivals, parades, fashion shows, night-life events, and community engagement
       events (collectively, hereinafter “Plaintiff’s Pride Events”) specifically catered to
       individuals residing within and outside of Houston, Texas, who identify as lesbian, gay,
       bisexual, transgender, queer, intersex, asexual, and/or otherwise non-heterosexual and/or
       non-gender conforming (collectively, hereinafter the “LGBTQ+ Community”), as well as
       their social and civil allies.

    4) “Plaintiff’s Pride Events have been exceptionally well-received by these communities and
       have gained significant recognition among the general public, comprising over seven
       hundred thousand (700,000) participants each year between its various Houston events.

    5) “Pride Houston holds several federal-protected trademarks, including “Pride Houston,”
       “Houston Pride Festival,” “Houston Pride Parade,” “Houston LGBT Pride Celebration,”
       and “Pride Houston Celebration” (collectively, the “Trademarks”). Pride Houston’s
       Trademarks are registered under goods and services related to promoting public awareness
       of the need for diversity and equal rights in a community comprising LGBTQ identifying
       people, as well as to commemorating and celebrating the history of the gay and lesbian
       communities.

    6) “Pride Houston enjoys tremendous success, widespread visibility, and significant goodwill
       throughout the United States, including the popularity and widespread recognition of
       Plaintiff’s brand and trade name by various media outlets and the numerous positive
       endorsements of Plaintiff’s Pride Events, and the public has come to recognize and trust
       Pride Houston’s brand and trade name.

                                                                                     Exhibit 1
Declaration – Kendra Walker                                                              Page 1 of 5
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    7) “An organization called “The New Faces of Pride Houston” has been formed in Texas in
       an attempt to bankrupt and malign Pride Houston. The New Faces of Pride Houston are
       trying to bill themselves as the producers of the Houston Pride Parade and Houston Pride
       Festival, thus infringing upon Pride Houston’s Trademarks and impeding its ability to
       fundraise and continuing hosting Plaintiff’s Pride Events.

    8) “The New Faces of Pride Houston has a vendetta against our organization and has ties with
       a disgruntled vendor with which Pride Houston decided not to renew a contract with. Bryan
       Cotton, President of The New Faces of Pride Houston, as well as Lori Hood, its registered
       agent and legal representative, were suggested as Board Members for our organization
       through the disgruntled vendor, but due to obvious conflicts of interest, were not accepted.
       Bryan Cotton is the best friend of the disgruntled vendor. Lori Hood is the intimate partner
       of the disgruntled vendor.

    9) “Lori Hood is also the lawyer representing the disgruntled vendor in another lawsuit. Lori
       Hood has requested financials from Pride Houston as a "concerned citizen" on a fishing
       expedition even though she knows Pride Houston is represented by counsel. This fishing
       expedition to find impropriety where none exists was predictably futile. The financials of
       Pride Houston were shared pursuant to Texas law.

    10) “The New Faces of Pride Houston is trying to bill itself as the producer of the Houston
        Pride Parade and Houston Pride Festival, thus impeding on Pride Houston’s Trademarks
        and ability to fundraise in adequate time to once again host same. Several vendors and
        sponsors of Pride Houston have expressed concern and confusion between The New Faces
        of Pride Houston and Pride Houston, between which there is no connection nor
        relationship. This has inhibited Pride Houston’s ability to fundraise for its annual Houston
        Pride Celebration that has been produced and hosted by Pride Houston continuously for
        the past forty-six (46) years.

    11) “At least one (1) member of The New Faces of Pride Houston, Dustin Scheffield, is a
        defendant in a pending lawsuit that includes claims of misappropriation of the funds of
        Pride Houston.

    12) “Monte Bacchus, former Production Team Member for Pride Houston, left Pride Houston
        in 2020 in a sign of protest as Pride Houston filed suit against Dustin Scheffield, Jacob
        Siegel, and ex-Executive Director Lorin Roberts.

    13) “Donald James, the Treasurer of The New Faces of Pride Houston, was hired by the
        disgruntled vendor as an influencer for Pride Houston in 2022.

    14) “Jill Marie Maxwell, a former member of the Board of Pride Houston, was dismissed from
        said position in 2019 for failure to fulfill her fiduciary duty.

    15) “Andrea Simonton, the project lead for Pride Houston’s marketing efforts in 2022, who
        also worked for the disgruntled vendor, is also a member of The New Faces of Pride

                                                                                      Exhibit 1
Declaration – Kendra Walker                                                               Page 2 of 5
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        Houston. Due to this connection, Pride Houston strongly suspects that unauthorized access
        to Pride Houston’s previous media and sponsor contacts have been wrongfully provided to
        The New Faces of Pride Houston.

    16) “The New Faces of Pride Houston have also used their contacts and friends in the media
        to plant stories and quotes that Pride Houston has never made. Pride Houston has been
        hard at work to have these articles corrected as they are discovered in order to maintain
        Pride Houston’s goodwill and reputation among its sponsors and vendors.

    17) “The New Faces of Pride Houston has made false statements to the public claiming it is
        partnering with organizations for the Houston Pride Parade and Festival to the point that
        other organizations have been forced to publish statements combating that narrative.

    18) “The disgruntled vendor, along with Lori Hood and Bryan Cotton, have made many
        inflammatory, and untrue, statements in the press about this organization.

    19) “It is apparent that The New Faces of Pride Houston are attempting to financially hurt Pride
        Houston as an attempt to supplant Pride Houston as the official Pride organization of
        Houston, pass off itself, and its executives, directors, and/or officers, as affiliated with
        Pride Houston, and infringe on Pride Houston’s Trademarks to facilitate same.

    20) “The New Faces of Pride Houston business name is problematic and deceitful, and the
        infringement upon Pride Houston’s Trademarks continue to cause confusion and financial
        harm to Pride Houston, which has been forced to request immediate relief from the courts.
        Further, Pride Houston has not licensed or granted any permission to any of Pride
        Houston’s Trademarks to The New Faces of Pride Houston.

    21) “Pride Houston has long-existed in the same region and market as other Pride festivals held
        within the City of Houston yet has still maintained to extensively build and establish its
        brand and trade name as a stand-out amongst same. While these other events, including,
        but are not limited to, Pride with Families, the Bigger, Better, Pride, etc., are technically
        competing events to Plaintiff’s Pride Events, Pride Houston has never experienced any
        conflict with same and is not generally opposed to such competing festivals. However,
        Pride Houston has also never experienced an organization seeking to unlawfully profit
        from Pride Houston’s forty-six (46) year legacy and harm Pride Houston’s long-earned
        goodwill as The New Faces of Houston Pride is now attempting to do.

    22) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 2
        is a true and correct copy of the Trademark Registration for “Pride Houston.”

    23) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 3
        is a true and correct copy of the Trademark Registration for “Houston Pride Festival.”



                                                                                       Exhibit 1
Declaration – Kendra Walker                                                                Page 3 of 5
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    24) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 4
        is a true and correct copy of the Trademark Registration for “Houston Pride Parade.”

    25) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 5
        is a true and correct copy of the Trademark Registration for “Houston LGBT Pride
        Celebration.”

    26) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 6
        is a true and correct copy of the Trademark Registration for “Pride Houston Celebration.”

    27) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 7
        is a true and correct copy of the Articles of Incorporation for the Pride Committee of
        Houston, Inc. and the Articles of Amendment of Pride Committee of Houston, Inc.
        changing its business name to Pride Houston, Inc.

    28) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 8
        is a true and correct copy of the Certificate of Formation of a Nonprofit Corporation for
        The New Faces of Pride, Inc.

    29) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 9
        is a true and correct copy of the Certificate of Amendment of The New Faces of Pride, Inc.
        changing its business name to The New Faces of Pride Houston, Inc.

    30) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 10
        is a true and correct copy of social media and internet postings by The New Faces of Pride
        Houston using Pride Houston’s Trademarks.

    31) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 11
        is a true and correct copy of an OutSmart Magazine Article dated October 19, 2023, titled
        as “Will Houston Have Two Pride Celebrations?”

    32) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 12
        is a true and correct copy of a Houston Business Journal Article dated October 4, 2023,
        titled as “Exclusive: Houston’s newest LGBTIA+ nonprofit aims to celebrate Pride year-
        round.”

    33) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining

                                                                                     Exhibit 1
Declaration – Kendra Walker                                                             Page 4 of 5
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        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 13
        is a true and correct copy of social media and internet postings made by The New Faces of
        Pride Houston using Pride Houston’s Trademarks related to Plaintiff’s Pride Events the
        “Houston Pride Festival” and the “Houston Pride Parade.”

    34) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 14
        is a true and correct copy of Pride Houston’s 2024 Official Houston Pride Celebration
        Registration, Information, and Parade Route Map.

    35) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 15
        is a true and correct copy of The New Faces of Pride Houston’s 2024 Pride Parade and
        Festival and Parade Route Map.

    36) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 16
        is a true and correct copy of a Houston Public Media Article dated October 23, 2023, titled
        “Houston’s Feuding Pride organizations planning two separate events for June 2024.”

    37) “Attached to Plaintiff’s Original Complaint and Application for Temporary Restraining
        Order, Temporary Injunction, Permanent Injunction, and Declaratory Action as Exhibit 17
        is a true and correct copy of communications sent to Kendra Walker and Pride Houston
        showing confusion between Pride Houston and The New Faces of Pride Houston.

    38) “I declare under penalty of perjury that the foregoing is true and correct.


“Further, Declarant sayeth not.”



Executed on October 25, 2023.



                                                      Kendra Walker




                                                                                      Exhibit 1
Declaration – Kendra Walker                                                              Page 5 of 5
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                                                                     Exhibit 2
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Reg. No. 5,313,882         Pride Houston, Inc. (TEXAS CORPORATION)
                           P. O. Box 541713
Registered Oct. 17, 2017   Houston, TEXAS 77254

                           CLASS 35: promoting public awareness of the need for diversity and equal rights in our
Int. Cl.: 35               community as well as to commemorate and celebrate the history of the gay and lesbian
                           community
Service Mark
                           FIRST USE 4-25-2015; IN COMMERCE 4-25-2015
Supplemental Register
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "PRIDE FESTIVAL"

                           SER. NO. 87-034,196, FILED P.R. 05-12-2016; AM. S.R. 08-22-2017




                                                                                                     Exhibit 3
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Reg. No. 5,313,881         Pride Houston, Inc. (TEXAS CORPORATION)
                           P. O. Box 541713
Registered Oct. 17, 2017   Houston, TEXAS 77254

                           CLASS 35: promoting public awareness of the need for diversity and equal rights in our
Int. Cl.: 35               community as well as to commemorate and celebrate the history of the gay and lesbian
                           community
Service Mark
                           FIRST USE 4-25-2015; IN COMMERCE 4-25-2015
Supplemental Register
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "PRIDE PARADE"

                           SER. NO. 87-034,193, FILED P.R. 05-12-2016; AM. S.R. 08-22-2017




                                                                                                     Exhibit 4
        Case 4:23-cv-04065 Document 3-1 Filed on 10/26/23 in TXSD Page 39 of 89




Reg. No. 5,732,151         Pride Houston, Inc. (TEXAS CORPORATION)
                           P. O. Box 66071
Registered Apr. 23, 2019   Houston, TEXAS 77266

                           CLASS 35: promoting public awareness of the need for diversity and equal rights in our
Int. Cl.: 35               community as well as to commemorate and celebrate the history of the gay and lesbian
                           community
Service Mark
                           FIRST USE 9-1-2009; IN COMMERCE 9-1-2009
Principal Register
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 4100413

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "LGBT PRIDE CELEBRATION"

                           SEC.2(F)

                           SER. NO. 88-077,017, FILED 08-14-2018




                                                                                                     Exhibit 5
        Case 4:23-cv-04065 Document 3-1 Filed on 10/26/23 in TXSD Page 40 of 89




Reg. No. 6,530,464           Pride Houston, Inc. (TEXAS CORPORATION)
                             401 Branard St., #100
Registered Oct. 19, 2021     Houston, TEXAS 77006
Int. Cl.: 35                 CLASS 35: Promoting public awareness of the need for diversity and equal rights in a
                             community comprising gay, lesbian, bisexual, transsexual, queer, intersex, asexual and
Service Mark                 questioning persons as well as promoting public awareness of the need to commemorate
Principal Register           and celebrate the history of the gay and lesbian community

                             FIRST USE 6-26-1978; IN COMMERCE 6-26-1978

                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                             ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                             SEC.2(F)

                             SER. NO. 90-448,502, FILED 01-05-2021




                                                                                                   Exhibit 6
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                                                                     Exhibit 8
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                                                                     Exhibit 8
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                       WIll Houston Have Two Pride Celebrations?
                       New Faces of Pride will hold a parade and festival one
                       week before Pride Houston.

                       Marene Gustin October 19, 2023         49   5 minutes read




                              Listen to this article
                                7 min


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                       SHARES


                       Story updated: 10/20/23

                       Pride in Houston has a new face—a new organization, actually—
                       called New Faces of Pride Houston.

                        “For a year now, people in the community have been saying
                       somebody has to do something about Pride,” said Realtor Bryan
                       Cotton, the new organization’s president. “So, I did.”

                       New Faces of Pride Houston will have a parade and festival
                       downtown next June 22.



                                                                                                                        Exhibit 11
https://www.outsmartmagazine.com/2023/10/will-houston-have-two-pride-celebrations/                                               1/6
10/24/23, 3:43 PM Case 4:23-cv-04065             Document    3-1Have
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                                                                     Two Pride Celebrations?in  TXSD Magazine
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                                                  New Faces of Pride Houston logo



                       Born during the ’70s fight for equal rights in the wake of the
                       Stonewall Riots, Houston’s Pride parade made its official launch
                       in 1979. Through the gay-bar police raids, the AIDS crisis, and a
                       homophobic mayor in the late ’70s, the nonprofit Pride Houston
                       marched on as a rainbow beacon for the local LGBTQ
                       community. But it has not been without internal strife. As far
                       back as 1986, the Pride Committee quarreled over merchandise
                       and then faced backlash in 2015 when, with little community
                       input, it moved the Montrose-centric block party downtown. And
                       in 2017, Pride Houston (the name of the parade’s sponsor since
                       1992) filed a lawsuit against its former president Frankie Quijano,
                       alleging he had refused to turn over the organization’s business
                       assets. The parties agreed to a settlement in December of that
                       year, and Lorin “Lo” Roberts officially became the first Black
                       female president of the organization.

                       Jump forward just four years, when the organization fired
                       Roberts and filed a lawsuit against her and two former treasurers,
                       alleging they colluded to misrepresent and hide expenditures,
                       payments, and the overall financial standing of the organization.
                       Countersuits followed that are still ongoing, and Roberts is
                       currently vice president of internal affairs for Fort Bend County
                       Pride, whose festival is set for November 12.
                                                                                                                  Exhibit 11
https://www.outsmartmagazine.com/2023/10/will-houston-have-two-pride-celebrations/                                         2/6
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                                                                     Two Pride Celebrations?in  TXSD Magazine
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                       And during all this, the parade and festival were suspended for
                       two years due to COVID-19. This year, the downtown parade
                       took place without the usual pre-parade festival.

                       “It had been several years since we had a float in the parade,”
                       recalled Howard Huffstutler, president of The Diana Foundation,
                       the oldest continuously active gay organization in the country
                       that has raised and donated millions of dollars for local
                       community organizations. “So, we paid around $220 for a parade
                       fee in 2020, but of course the parade was canceled. When I
                       called about using the money for the next parade—not a refund,
                       mind you, but just to apply it to the next parade—I was told they
                       would do that.”

                       When the parade resumed in 2022, Huffstutler called again and
                       was told by the now-executive director, Kendra Walker, that they
                       didn’t have any money. “She said we had no credit because Pride
                       had had to pay bills and that was just the way it was,” he said.
                       “Then she said we could buy a new float permit for $2,000! She
                       wanted to charge another nonprofit $2,000. My board was
                       appalled. No way could we justify that when that money could
                       pay for a scholarship.”

                       The Diana Foundation clarified that they had no intention of
                       pursuing legal action over a mere $200, especially not against
                       another nonprofit within the community. A different vendor at
                       Pride Houston exhibited a less forgiving attitude regarding the
                       nonprofit’s outstanding website maintenance fee.

                       “We were hired in March of 2022,” said Heather Taylor of her
                       Mad Hat Maven creative agency. “We did the rebrand, new
                       website, parade theme—all of it.” Taylor said the nonprofit was
                       so short staffed that her staff wound up working at the festival,
                       she even took tickets at the gate. But when Pride month ended,
                       they were told they weren’t needed anymore. “We still had two
                       months on our contract when June was over, but they said we
                       were done,” Taylor said.                                                                   Exhibit 11
https://www.outsmartmagazine.com/2023/10/will-houston-have-two-pride-celebrations/                                         3/6
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                       Eventually, the nonprofit (now rebranded as Pride Houston 365)
                       paid the rest of Mad Hat Maven’s contract, but not the money
                       owed for maintaining the website. Taylor said it’s not about the
                       money, but the principle. “You don’t just stop paying your bills.”
                       Mad Hat Maven has been trying to collect approximately $2,000
                       for website services since last September, and decided to sue this
                       year.

                       Pride Houston 365 Executive Director Kendra Walker denied
                       speaking to Howard Huffstutler or having any correspondence
                       about the rollover fee. She also said Mad Hat Maven Creative
                       was in violation of their contract. That lawsuit is still pending.

                       Despite all the ongoing issues, Pride Houston 365 is making
                       plans for 2024, having secured permits for June 29 for the festival
                       and parade, with a theme of “You Won’t Break Our Pride.”




                                                   Pride Houston 365 logo



                       “We are financially solvent, we already have the money for 2024
                       and sponsors like ABC13 (our local TV affiliate), and we will open
                       registration on October 23,” says Executive Director Kendra
                       Walker. “But we were surprised that another organization had
                       applied for the week before.”

                       Susan Christian, director of the Mayor’s Office of Special Events,
                       confirmed the dates.                                                                       Exhibit 11
https://www.outsmartmagazine.com/2023/10/will-houston-have-two-pride-celebrations/                                         4/6
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                       “The new organization has a lot of people we have worked with
                       for years,” Christian says. “The events are not on conflicting
                       dates, we wouldn’t encourage having two Pride parades,” she
                       said, “but we can do it. There’s always room to be Prideful.”

                       In fact, Houston has had two Martin Luther King parades on MLK
                       Day for several years. And Los Angeles and the City of West
                       Hollywood (WeHo) split up in 2022, with the nonprofit L.A.
                       Parade moving back to L.A. and WeHo now hosting its own Pride
                       parade and events. This year they had two parades a week—and
                       just a few miles—apart.

                       The L.A. Times reported then that: Tensions between LA Pride’s
                       parent organization, Christopher Street West, and West
                       Hollywood’s city fathers had simmered for years. There was a
                       disastrous attempted rebrand in 2016 that critics dubbed “gay
                       Coachella,” spats over accounting, and a widespread feeling
                       among queer Angelenos of color that the organization and the city
                       were unwelcoming and unrepresentative.

                       “I don’t think our city can support two events of that magnitude,”
                       said Walker. “We were shocked to see all the people on the new
                       board who have worked with us in the past and some who are
                       involved in the ongoing lawsuits.”

                       “We know most of the members,” she adds. “It is what it is,
                       there’s nothing we can do about it. It’s going to be interesting,
                       but the goal should be that Houston has a celebration.”

                       When asked if the two organizations could merge, Walker was
                       pretty certain that would not happen.

                       “I don’t think so,” she said. “If that were the case, they would
                       have contacted us before.”

                       Cotton said New Faces of Pride Houston had a board meeting in
                       July, and already has sponsors for next year’s events. The    Exhibit 11
https://www.outsmartmagazine.com/2023/10/will-houston-have-two-pride-celebrations/                                      5/6
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                       organization has been approved as a charity by the Texas
                       Secretary of State and is now an active 501(c)(3) nonprofit.

                       “The City has been very happy to work with us,” he said. “And the
                       performing arts organizations are backing us, Houston Grand
                       Opera was very happy to hear about us. Plus, we have bars
                       where we intend to have Happy Hours every month.” New Faces
                       of Pride Houston will host its first official event November 9 at
                       Rich’s Houston.

                       “People have been coming out of the woodwork to support us,”
                       said Cotton. “It’s a sign that this is what the community needs
                       right now and that we are doing the right thing.”

                       For more information about New Faces of Pride Houston,
                       visit newfacesofpride.org and for Pride Houston
                       365, pridehouston365.org.

                        Comments




                                                                                                                  Exhibit 11
https://www.outsmartmagazine.com/2023/10/will-houston-have-two-pride-celebrations/                                         6/6
10/24/23, 11:04 AMCase 4:23-cv-04065  Document
                                   LGBTQIA+          3-1NewFiled
                                            organization          onPride
                                                            Faces of  10/26/23      in TXSD
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             From the Houston Business Journal:
             https://www.bizjournals.com/houston/news/2023/10/04/new-faces-of-pride-
             houston-launches.html


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   Philanthropy & Nonprofits



   Exclusive: Houston's newest LGBTIA+ nonprofit
   aims to celebrate Pride year-round




   New Faces of Pride Houston is the Bayou City's newest LGBTQIA+ nonprofit.
   TASHA GOREL



                   By Sofia Gonzalez – Reporter, Houston Business Journal
                   Oct 4, 2023

                                                                                                                Exhibit 12
https://www.bizjournals.com/houston/news/2023/10/04/new-faces-of-pride-houston-launches.html                             1/5
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                 Listen to this article            7 min


       Clarification: New Faces of Pride Houston is a separate entity from Pride Houston and
       does not own the trademark.


       Bryan Cotton wants to make sure Pride is celebrated year-round, not just during Pride
       month in June.

       That’s why he founded the city’s newest LGBTQIA+ organization: New Faces of Pride
       Houston, which he is also president of.

       Cotton, who who has worked in nonprofits for about two decades, moved quickly to
       establish his organization. New Faces of Pride Houston has been in the works since May,
       but officially launched July 13.

       He formed New Faces of Pride with the help of a diverse board and an advisory board
       that is representative of both the city and the county, he said.

       New Faces of Pride aims to highlight businesses and fellow nonprofits through regular
       monthly events. And the organization has already established alliances with other
       nonprofits, including the Houston Grand Opera and Alley Theater, and businesses, such
       as well-known gay bars like Pearl Bar and Rich's, formerly known as ReBar.

       In addition to keeping LGBTQIA+ businesses in the zeitgeist throughout the year, he
       hopes to bring attention to nonprofits helping members of the Pride community. One in
       particular is Tony’s Place, a nonprofit for homeless and unstably housed LGBTQIA+
       youth and allies.

       Coming up this holiday season, Cotton said New Faces of Pride wants to host a happy
       hour that will also double as a clothing drive, specifically asking for jackets that can be
       given to homeless gay youth during the winter.

       Cotton said events will ramp up as the June Pride festival approaches. For that event,
       two activities he said he’s most excited for include bar row and nonprofit alley. He said
       these will give patrons a chance to engage with businesses and programs that they might
       not be currently familiar with.
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https://www.bizjournals.com/houston/news/2023/10/04/new-faces-of-pride-houston-launches.html                             2/5
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       New Faces of Pride's first event will be on Nov. 9 at 6 p.m. at Rich's.

       The Houston Business Journal spoke with Cotton for an exclusive story to find out more
       about the new organization and its plans for the Houston area.


       What is the inspiration for this new organization? In the last few years, many people in
       the community have expressed concern about [needing] a new Pride; saying something
       needs to be done [and] whatnot. Eventually, somebody said, “Maybe that person is you,”
       and I said, “Well, I guess so.”

       I reached out to Jill Maxwell, actually ... [because] she has former board experience with
       another Pride organization. I said, “Hey, I want to start a new Pride in Houston, but I'm
       only going to do it if you will be my board secretary and do this with me.” She didn't
       even give it a second thought before she said “Let's do it,” and then we ran with it.

       Houston needs a Pride organization focused on bringing the community together and
       focused on all the nonprofits in the community, trying to shine a spotlight on everybody.
       That is our focus.

       I know a lot of other Prides do their big thing in June, [but] we want to do stuff
       throughout the year. That was one of the things that the gay bars were very happy to
       hear when we were talking with all of them. They were thrilled that we reached out to
       them and wanted to work with them. One of the things we're going to do is host monthly
       happy hours where we bring people in, but we also want to highlight nonprofits from the
       community every month. It'll be a different one every month. Even though we're a
       nonprofit, we don’t want the focus to just be on us because our focus as Pride is to
       showcase the very best of our community. That is our goal.

       How is this Pride organization different from others in the city? We are focusing on
       bringing the community together. We are focusing on the LGBTQIA+ organizations and
       the LGBTQIA+-owned businesses. We are working with the gay bars, [and] we are
       hosting events in those bars. We are also working with theater companies.

       We are giving back by highlighting all these nonprofits. We are giving back at the end of
       the season. We're cutting checks to two charities. Our goal is to focus on bringing our
       community together and making it a truly all inclusive, welcoming place for everyone.

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       You mention giving back and cutting checks to two charities. Can you expand on that
       more? How will these be chosen? We are picking two nonprofits that are going to be the
       main nonprofits we focusing on. At the end of the Pride season, when all is said and done
       — and all the bills are paid and we have money prepared for next year — we're cutting
       checks to these two organizations.

       One of the two organizations is Tony's Place. We're super excited about working with
       them. They are a fabulous organization. Hopefully with the next almost-year of coverage
       with us, events and everything else, people will learn so much more about them and give
       them quite a bit of money. Then we do have a second charity that we have selected, [but]
       we're working on a few details with them.

       We selected these two nonprofits ourselves because we knew them in the community.
       Next year, we'll have a different selection process. We will welcome people to apply,
       which we'll have a whole process for next year on our website.

       Where would you like to see the organization 10 years down the road? I want this to be
       even bigger. I would love it if we were taking on more than two charities a year. I want us
       to be a destination Pride within the next few years. With the group of people we have
       working with us, and the group of people we have wanting to help us, there's no reason
       we can’t make that happen.

       We’re the fourth largest city in the country, and we have such amazing support and
       venues — there’s no reason we can’t have one of the best Prides in the city. And that is
       absolutely our goal. When you have an organization run by people who know how to run
       an organization, and you have people on the board who know how to run a parade and
       festival, and people who have great relationships with people at the city and the police
       department and everywhere else — there’s no reason we can’t pull off an extremely
       successful event and continue to build and grow it every year.

       We want to keep our sponsors very happy. We're going to treat them with respect, as
       they should always be treated. We're going to treat our guests with respect — security
       will always be an absolute top priority for us.

       Although you all will be officially public once this article is published, what has the
       support been like so far? We're overwhelmed with the amount of support we've had —
       and we haven't even gone public. So for the number of people who have reached out to
                                                                                                                Exhibit 12
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       us just by hearing about us from word of mouth or any of the other way — rumors that
       may have been going around or whatever — it's amazing that we've had that kind of
       support already.

       That also tells us this is what the city and the community needed, and we're doing the
       right thing. We are very proud to be the ones to do this and build a Pride that the
       community can be proud of.

       This interview was edited for length and clarity.




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https://www.bizjournals.com/houston/news/2023/10/04/new-faces-of-pride-houston-launches.html                             5/5
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                               HOUSTON PRIDE FESTIVAL AND HOUSTON PRIDE PARADE REGISTRATION



        The 46th annual Houston Pride Celebration will take place downtown at Houston City Hall, 901 Bagby St, on Saturday, June

        29, 2024, in Houston, TX. This has been Houston's Premiere Event of the Pride Season for over 40+ years.



           1. Create an account.
           2. Reserve one or multiple Celebration Festival and/or Parade Spot(s).
           3. Sign your Celebration Agreement
           4. Submit important information and supporting documentation.
           5. Pay your applicable registration fees.




                                                                                                                        Exhibit 14
https://pridehouston.regfox.com/2024-official-houston-pride-celebration-registration                                               1/5
10/24/23, 12:15 PMCase 4:23-cv-04065                Document2024
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                                                                         Houston              in TXSD
                                                                                 Pride Celebration RegistrationPage 68 of 89




                                  Required Documents
               Signed Celebration Agreement (Download & sign or request DocuSign at
               celebration@pridehouston.org. Required for everyone.
               Proof of Registration Class. (Proof of mission or purpose via website, social media profile, charter,
               article of incorporations, certificate of formation, bylaws, federal tax-exempt certificate, approved
               state tax-exempt form, etc.) Required only for local businesses.
               City of Houston Health Certificate for food and beverage handlers. Required for anyone selling, giving
               away and/or handling foods and beverages that will be distributed during the festival.
               Photo of Driver License - Front and Back. Required for drivers of vehicles in the Parade. Present at
               check-in on Event Day.
               Automobile Insurance for the individual identified by the Driver License. Required for drivers of
               vehicles in the Parade. Present at check-in on Event Day.
               General Commercial or Personal Liability Insurance in amounts not less than $500,000 USD per claim
               and $1,000,000 USD aggregate adding Pride Houston, Inc. and the City of Houston as additional
               insured(s). Required for organizations & individuals "not" purchasing celebration insurance through the
               registration system.

        Want To Become A Sponsor of the 2024 Houston Pride Celebration? Sponsorship inquiries please email
        sponsorinquiry@pridehouston.org


        Refund Policy




                                                                                                                        Exhibit 14
https://pridehouston.regfox.com/2024-official-houston-pride-celebration-registration                                             2/5
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                   2023 Houston Pride
                         Parade




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https://pridehouston365.org/2023-celebration/                                                                          1/8
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                                                           Parade Map
                               (https://pridehouston365.org/wp-content/uploads/2023/10/Map.png)




                                        Our Sponsors & Partners




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https://pridehouston365.org/2023-celebration/                                                                         2/8
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                               JOIN US FOR THE 2024 PARADE + FESTIVAL DOWNTOWN HOUSTON



                                                           June 22nd Parade + Festival
                                                          Fish Plaza, Wortham Theater
                                                               Downtown, Houston




                         C O P Y R I G H T © 2 0 2 3 N E W FA C E S O F P R I D E H O U S T O N - A L L R I G H T S R E S E R V E D .



                                                                      VOLUNTEER
                                                                 2 0 2 4 C E L E B R AT I O N




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https://newfacesofpride.org/2024-celebration                                                                                                     1/1
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 Houston’s feuding Pride organizations planning two separate events
 for June 2024
 Tensions already are bubbling between Pride Houston 365, the longtime organizer of Houston’s annual Pride parade and festival, and a new
 organization called New Faces of Pride Houston that is planning its own events next year.

 ADAM ZUVANICH | OCTOBER 23, 2023, 3:25 PM (LAST UPDATED: OCTOBER 23, 2023, 4:07 PM)


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                                                                                                                                      Rob Salinas/Houston Public Media

               Marchers in the 2023 Pride Parade organized by Pride Houston 365.


 There was no Pride festival in Houston this June, like there had been in previous summers.

 Next summer the city could play host to two festivals and parades celebrating its LGBTQ+ community — scheduled one week apart.

 Call them dueling Pride events being organized by feuding nonprofits, who are competing for the same group of prospective attendees, the same corporate sponsors and,
 perhaps ultimately, their own livelihoods.

 A downtown Pride parade and festival is being planned for June 22 by New Faces of Pride Houston, which formed this July and includes people previously associated
 with Pride Houston 365, the organization that began hosting an annual Pride parade 45 years ago. That organization's 2024 parade and festival is scheduled for June 29, also
 downtown and with the same parade route.

 "You could look at it as competing," said Bryan Cotton, the founder and president of New Faces of Pride Houston. "If they actually have their event next summer, people will
 have the choice of which to go to. Many people, nonprofits and companies have never had a choice of which (Pride) organization to work with. They felt they had to work with
 one particular group. Now they have a choice."

 Cotton said he and fellow board member Jill Maxwell, a former board member for Pride Houston, led the launch of the new group because of turmoil associated with Pride
 Houston. That organization scrapped last year's Pride festival after the 2022 event was marred by high heat and capacity issues, and for the last two years has been embroiled
 in a lawsuit against former executive director Lorin Roberts, whom Pride Houston accused of fraud, embezzlement and breach of fiduciary duty, among other claims.

 One of the other defendants in that lawsuit, former Pride Houston staff member Dustin Sheffield, now works for New Faces of Pride Houston, according to Cotton. He said one
 of the advisory board members for the new group is Lori Hood, a Houston attorney who is presenting a local marketing agency, Mad Hat Maven, in a separate lawsuit filed in

                                                                                                                                                         Exhibit 16
 May that accuses Pride Houston of breaching a contract between the two entities.



https://www.houstonpublicmedia.org/articles/lgbtq/2023/10/23/467532/houston-pride-2024-two-events-feuding-organizations/#:~:text=A downtown Pri…                                1/3
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                                                                                                               – Houston 89 Media
 There are other connections between the two local Pride organizations, according to Cotton and Pride Houston president Kendra Walker, who accuses New Faces of Pride
 Houston of tapping into its experience and resources and trying to piggyback off its historical success as well as its name recognition. Walker said Pride Houston sent a cease-
 and-desist letter to New Faces of Pride Houston, alleging that its logo and use of the phrase "Pride Houston" in its name amount to trademark infringement.

 Walker added that Pride Houston is "considering all legal options available to us."




                                                                                                                                          Rob Salinas/Houston Public Media

               Marchers in the 2023 Houston Pride Parade.


 "As you can see, the new faces are pretty much the old faces that were affiliated with Pride (Houston)," Walker said. "While we certainly welcome them, we wish them success,
 we don't wish you success with our trademarks."

 Cotton acknowledged receiving the cease-and-desist letter but denied that New Faces of Pride Houston is infringing on the trademarks of Pride Houston, calling them "very
 vague trademarks."

 "Our lawyer has already spoken to their lawyer, letting them know we have every intention to challenge it," Cotton added. "We will do so in court if necessary. They will lose in
 court if they have the intention of pursuing it that far."

 Cotton also acknowledged that New Faces of Pride Houston is benefitting from the experience and City Hall connections of Sheffield and some of its other staffers and leaders
 who previously were tied to Pride Houston. The longer-tenured organization has typically drawn hundreds of thousands of people to its parade and festival.

 Walker questioned the ethics involved with a new organization using the blueprint of a similar, competing group. She also said some of Pride Houston's existing sponsors have
 been contacted by New Faces of Pride Houston, which she said has created confusion in the community.

 Pride Houston is generally supportive of other Pride organizations and Pride events, Walker said.

 "I don't want people to think this is bad blood or anything," she said. "At the end of the day, people have the option to move on."

 When asked if the two local Pride organizations and their events could coexist over the long term, Cotton said he thinks one of them will eventually be phased out while adding,
 "I imagine New Faces of Pride will be here for a very long time." Still, he said his organization is not aiming to snuff out the other.

 "This was definitely done to give the community a Pride organization that is truly diverse and transparent and one that the community can be proud of once again," Cotton said.
 "Because it's been a long time since the community has felt good about Pride in this city."

 The Montrose Center, a local nonprofit that describes itself as the "cultural hub of Houston's LGBTQ community," is so far staying on the sidelines in the dispute between Pride
 Houston and New Faces of Pride Houston. A spokesperson for the Montrose Center said it is "staying neutral" and will not partner with either organization, or any others, as it
 relates to their 2024 events.




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                                                                                                               – Houston 89 Media
 "We are aware that there are several organizations across the Houston area, some established and some new, who are planning Pride events," the Montrose Center said in
 a statement last Friday. "We wish them well. We remain committed to empowering all LGBTQ individuals to live healthier, more fulfilling lives."




                                                                                                                                                   Exhibit 16
https://www.houstonpublicmedia.org/articles/lgbtq/2023/10/23/467532/houston-pride-2024-two-events-feuding-organizations/#:~:text=A downtown Pri…                          3/3
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              KEARNEY MCWILLIAMS & DAVIS
                                             ATTORNEYS AT LAW
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Denver: 1625 Broadway, Suite 2950, Denver, CO 80202
Wyoming: 110 S. Gould St., 2nd Floor, Sheridan, WY 82801


                                                      October 11, 2023

The New Faces of Pride Houston                                                     via email: lhood@mayerllp.com;
Attn.: Lori Hood, registered agent                                                        bryancotton74@gmail.com
2900 N. Loop W., Ste. 500                                                  via USPS Priority to Registered Agent only
Houston, TX 77092



Re:       CEASE AND DESIST




Dear The New Faces of Pride Houston:
We represent Pride Houston, Inc, and we are contacting you about usage of our client’s registered
trademarks, which are shown below for your convenience:

                                        PRIDE HOUSTON CELEBRATION
                                                       QUEER.ISH
                                   HOUSTON LGBT PRIDE CELEBRATION
                                           HOUSTON PRIDE FESTIVAL
                                            HOUSTON PRIDE PARADE




                                                   PRIDE HOUSTON

Although no warning is necessary, we reach out to you as a courtesy to request that you cease and desist
immediately from use of identical and/or similar marks likely to cause confusion, or to cause mistake, or to
deceive as to the affiliation, connection, or association with our client, or as to the origin, sponsorship, or
approval of your services with our client’s. Over many years, our client has invested substantial time,
energy, and resources in building these marks.




                                                             Page 1 of 2                                      Exhibit 19
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Undoubtedly and comparatively, our client is the senior user of the marks in the table that are associated
with services your new organization is starting to offer or will in the future. To exemplify, and without
limitation, your problematic uses include The New Faces of Pride Houston as well as Pride Houston and
Houston Pride Parade + Festival. On your Facebook page, you even use #PrideHouston. We recognize an
organization’s fair desire to define itself and its goods/services, but your new organization unfairly leans
on and uses my client’s property.

As a result, your junior use is a serious matter which we wish to resolve amicably and quickly. To that end,
we simply request that you immediately:

    (1) cease all use and plans to use marks that are identical or confusingly similar to our client’s marks
        in the table; and
    (2) provide us with written confirmation, such as emailing me, of your compliance with (1) by Friday,
        October 20, 2022 at 6:00 p.m. Central Time.

Else, we understand that you have no intention to cease, and, instead, to reap where you have not sewn. As
a result, we shall recommend to our client, who reserves the right to pursue any and all remedies, to proceed
with action. Example causes of action may include: (1) trademark infringement; (2) trademark dilution;
(3) passing off; (4) tortious interference with contracts; (5) tortious interference with business relationships;
(6) injury to business reputation; (7) fraud; and (8) unfair competition and other torts. In addition to
preliminary and permanent injunctive relief, awards of damages, exemplary damages, attorney fees, and
court costs are possible, especially for intentional behavior. If suit is begun, then we shall not settle for
anything less than a full accounting of damages, including exemplary damages, attorney fees, and costs.
Satisfaction of any judgment upon suit, which will be in our favor, may come from the sale, lien, acquisition,
garnishment, and/or other encumbrances of your personal assets and those in privity with your actions.
Thus, please take this warning with great heed.

Please feel free to reach me on this matter. Thank you.


Very truly yours,

Erik J. Osterrieder
Erik J. Osterrieder




                                                   Page 2 of 2                                          Exhibit 19
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jwalters@kmd.law

From:                            Lori Hood <lhood@mayerllp.com>
Sent:                            Thursday, October 12, 2023 10:20 AM
To:                              eosterrieder@kmd.law; bryancotton74@gmail.com
Subject:                         RE: letter


Eric, So happy to speak with you yesterday. While we do not agree with the allegations and conclusions in your letter, we
do look forward to sitting down with you to discuss how both of these charities can do the most good for the community
and Houston. Given the events of the day, conflict between GLBTQ+ charities is ridiculous. Let me know when you are
available to discuss the marks. Have a great day.




LORI HOOD | PARTNER
LLM-Taxation

2900 North Loop West• Suite 500 • Houston, TX 77092
W 713.487.2005 • C 832.367.3111
lhood@mayerllp.com • mayerllp.com




From: eosterrieder@kmd.law <eosterrieder@kmd.law>
Sent: Wednesday, October 11, 2023 3:42 PM
To: Lori Hood <lhood@mayerllp.com>; bryancotton74@gmail.com
Subject: letter

Dear The New Faces of Pride Houston,

Attached, please find a letter, and reach me with any questions and comments.

If you or someone else represents The New Faces of Pride Houston in this matter, Lori, then please let me know. Thank
you.

Regards,
Erik

Erik J. Osterrieder
IP Attorney

                            KEARNEY, MCWILLIAMS & DAVIS
                            Houston: 55 Waugh, Ste. 150, Houston, TX 77007
                            San Antonio: 40 NE Loop 410, Ste. 431, San Antonio, TX 78216
                            Dallas/Fort Worth: 1235 South Main, Ste. 280, Grapevine, TX 76051
                            Denver: 1625 Broadway, Ste. 2950, Denver, CO 80202
                            Wyoming: 110 S. Gould, 2nd Floor, Sheridan, WY 82801
                            Phone: (713) 201-0303
                            Email: ejo@kmd.law

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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

PRIDE HOUSTON, INC.,                                   §
                                                       §
               Plaintiff,                              §
                                                       §
v.                                                     §      Civil Action No.
                                                       §
THE NEW FACES OF PRIDE                                 §
HOUSTON, INC.,                                         §
                                                       §
               Defendant.                              §


                                  Temporary Restraining Order



       After considering Plaintiff Pride Houston, Inc.’s (“Pride Houston”) Application

for Temporary Restraining Order, as well as the pleadings, the affidavits, and arguments of

counsel, if any, the Court finds there is evidence that harm is imminent to Plaintiff and if the Court

does not issue the temporary restraining order Plaintiff will be irreparably injured because

Defendant, The New Faces of Pride Houston, Inc. (“Enjoined Party”), is likely to damage, infringe,

improperly utilize, and cause irreparable injury to Plaintiff’s unique federally-registered

trademarks, brand, and trade name as further described in Plaintiff’s Original Complaint (the

“Trademarks”), the right to which is part of the subject matter of this litigation.

       An ex parte order, without notice to the Enjoined Party, is necessary because there was not

enough time to give notice to the Enjoined Party, hold a hearing, and issue a restraining order

before the irreparable injury, loss, or damage would occur, as there is evidence of a continuous

and ongoing marketing campaign using the Trademarks that has caused, and will continue to cause,

actual confusion in Plaintiff’s consumers between Plaintiff and Defendant, irreparably harm



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Plaintiff’s reputation and goodwill, and irreparably harm Plaintiff’s ability to obtain funding and

donations for its business operations. Specifically, the Enjoined Party has stated their intention to

continue its infringing use of the Trademarks, and absent this Order, there is nothing to prevent

the Enjoined Party from doing so upon notice of a hearing.

       The Court further finds that there is a likelihood of success on the merits by Plaintiff, that

irreparable harm will occur should this Order not be granted, and that the public interest and

balance of harms support issuance of this Order. It is therefore,

       ORDERED that the Enjoined Party, and their parent companies, subsidiary companies,

officers, agents, servants, warehousemen, employees, successors, and assigns, and attorneys, and

all parties acting in concert therewith, who receive constructive notice of this Order are hereby

RESTRAINED AND ENJOINED from:

        i. Marketing or promoting any events, or accepting participant registrations for any

           events, that improperly publishes, displays, or in any way uses Plaintiff’s Trademarks

           in the event name, social media tags, or other marketing, information, and/or other

           materials;

       ii. Marketing, advertising, fundraising, or soliciting donations, supports, and vendors in

           relation to Defendant’s infringing “The New Faces of Pride Houston” business;

      iii. Advertising Defendant’s infringing “The New Faces of Pride Houston” business,

           soliciting any more of Plaintiff’s supporters’ donations in relation to Defendant’s

           infringing use of same or Defendant’s competing social events;

      iv. Claiming to be the “Official Houston Pride” organization in any capacity; and/or

       v. Using any phrase, tradename, trademark, service mark, or business, corporate, or

           domain name that is confusingly similar to Plaintiff’s Trademarks, including, but not



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           limited to, Pride Houston, Houston Pride Festival, Houston Pride Parage, Houston

           LBGT Pride Celebration, and Pride Houston Celebration; and

      vi. Operating or otherwise using any social media account, page, or domain with a name

           or title that is confusingly similarly to Plaintiff’s Trademarks, including but not limited

           to Pride Houston, Houston Pride Festival, Houston Pride Parage, Houston LBGT Pride

           Celebration, and Pride Houston Celebration and any variations or similar spellings or

           appearances of same, wherein confusingly similar phrases, words, tradenames,

           trademarks, service marks, or domain names, including any variation or similar spelling

           or appearance of same, whether alone or in combination with other words, numbers,

           colors, logos, or designs that are confusingly similar to the Trademarks, and whether

           in lower or upper case or stylized format, without the express written consent of Pride

           Houston.

       ORDERED that the Enjoined Party shall appear before this Court, at Room _____ of the

U.S. District Court for the Southern District of Texas, Houston Division, located at 515 Rusk

Street, Houston, Harris County, Texas on the ______ day of _________________, 2023, at

______________ __.M., and then and there show cause, if any there be, why a temporary

injunction should not be issued as requested by Plaintiff.

       The Clerk of the Court is hereby directed to issue a show cause notice to the Enjoined Party

to appear at the temporary injunction hearing.

       The Clerk of the above-entitled Court shall forthwith, on the filing by Plaintiff of the bond

of $____________________, and on approving the same according to the law, issue a temporary

restraining order in conformity with the law and the terms of this Order.

       This Order shall expire in its entirety on the ______ day of ___________________, 2023.



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SIGNED the ____ day of _____________________, 2023, at _______ __.M.



                                              ___________________________________
                                              U.S. DISTRICT JUDGE



Approved as to Form and Entry Requested by:


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